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 4
                               UNITED STATES DISTRICT COURT
 5
                          NORTHERN DISTRICT OF CALIFORNIA
 6
                                    OAKLAND DIVISION
 7
     In re RIPPLE LABS INC. LITIGATION      )   Case No. 4:18-cv-06753-PJH
 8                                          )
                                            )   CLASS ACTION
 9 This Document Relates To:                )
                                            )   [PROPOSED] ORDER REGARDING
10         ALL ACTIONS.                     )   PUBLICATION OF NOTICE PURSUANT
                                            )   TO THE PRIVATE SECURITIES
11                                          )   LITIGATION REFORM ACT, 15 U.S.C.
                                            )   §77z-1, BRIEFING SCHEDULE ON
12                                          )   MOTIONS FOR APPOINTMENT AS LEAD
                                            )   PLAINTIFF, FILING OF LEAD
13                                          )   PLAINTIFFS’ CONSOLIDATED
                                            )   COMPLAINT AND DEFENDANTS’
14                                          )   RESPONSE TO THE CONSOLIDATED
                                            )   COMPLAINT
15                                          )
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 1          The Court having received and reviewed the parties' Regarding Publication Of Notice

 2 Pursuant To The Private Securities Litigation Reform Act, 15 U.S.C. §77z-1, Briefing Schedule On

 3 Motions For Appointment As Lead Plaintiff, Filing Of Lead Plaintiffs’ Consolidated Complaint And

 4 Defendants’ Response To The Consolidated Complaint, and good cause appearing;

 5          IT IS HEREBY ORDERED:

 6          1.      Within two business days following the entry of this stipulation, but no later than

 7 March 20, 2019, Plaintiffs shall cause notice to be published consistent with 15 U.S.C. §77z-

 8 1(a)(3)(A)(i);

 9          2.      Pursuant to the PSLRA, 15 U.S.C. §77z-1(a)(3)(A)(i)(II), any member of the

10 purported class seeking to serve as lead plaintiff of the purported class shall, no later than 60 days

11 after the date on which notice is published, move the Court for appointment as lead plaintiff and

12 approval of lead plaintiffs’ selection of lead counsel;

13          3.      Defendants are not required to respond to the complaint in any action previously

14 consolidated into this Action;

15          4.      The court-appointed lead plaintiff shall file a consolidated complaint within forty-five

16 (45) days after entry of the order designating the lead plaintiff, unless otherwise agreed upon by the

17 Parties. The consolidated complaint shall be the operative complaint and shall supersede all

18 complaints filed in any action consolidated into this Action;

19          5.      Defendants shall respond to the consolidated complaint within forty-five (45) days

20 after service, unless otherwise agreed upon by the Parties and so ordered by the Court. If Defendants

21 file any motions directed at the consolidated complaint, the opposition brief shall be filed within

22 forty-five (45) days of the date the motion was filed, and the reply brief shall be filed within thirty

23 (30) days of the date the opposition brief was filed, unless otherwise agreed upon by the Parties and

24 so ordered by the Court.

25          6.      All related actions that are subsequently filed in, or transferred to, this District shall

26 be consolidated into this action for pretrial purposes. This Order shall apply to every such related

27 action, absent order of the Court. A party that objects to such consolidation, or to any other provision

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 1 of this Order, must file an application for relief from this Order within thirty (30) days after the date

 2 on which a copy of this Order is served on the party's counsel.

 3           7.      The parties shall file an Administrative Motion to Consider Whether Cases Should Be

 4 Related pursuant to Civil L.R. 3-12 whenever a case that should be consolidated into this action is

 5 filed in, or transferred to, this District. If the Court determines that the case is related, the clerk shall:

 6                         (i)        place a copy of this Order in the separate file for such action;

 7                        (ii)        serve on plaintiff's counsel in the new case a copy of this Order;

 8                       (iii)        direct that this Order be served upon defendants in the new case; and

 9                       (iv)         make the appropriate entry in the docket for this action.

10           8.      Nothing herein shall be deemed to constitute a waiver of any rights, claims, defenses,

11 motions, or relief any Party may assert or seek with respect to this Action.
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     Dated: March __,
                  18 2019




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                                                                                          J. Hamilton




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                                                               United States    District Court        Judge




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